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                 IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA


SHELLEY DELON                                         )
                                                      )
                               Plaintiff,             )
                                                      )
               v.                                     )       Case No. 08-cv-00212 (PLF)
                                                      )
UNITED STATES OF AMERICA, et al.                      )
                                                      )
                                                      )
                               Defendants.            )

     PLAINTIFF’S MOTION TO STRIKE THE EXPERT TESTIMONY
       OF GREG WESTPHAL, JOHN BRIGHT, DARIUS BOWMAN,
  MICHAEL GLOCK, JOHN BRYAN, AND PATRICK NICHOLS, OR IN THE
   ALTERNATIVE, MOTION IN LIMINE TO LIMIT SUCH TESTIMONY

       COMES NOW Plaintiff, by and through the undersigned counsel, and moves this

Court to strike the expert testimony offered at trial by Greg Westphal, John Bright, Darius

Bowman, Michael Glock, John Bryan, and Patrick Nichols. For this Motion, Plaintiff

states as follows:

       1.      This action involves an incident on April 13, 2006 in which the Plaintiff

was inflicted with severe burns on her body as a result of hot steam escaping from a

manhole located at or near the intersection of 6th and C Streets N.W. in Washington, D.C.

       2.      Federal Rule 26(a)(2)(A) states that a party shall disclose to other parties

the identity of any person who may be used at trial to present evidence under Rules 702,

703, or 705 of the Federal Rules of Evidence. Fed R. Civ. P. 26(a)(A). Federal Rule

26(a)(2)(B) states that the disclosure shall, with respect to a witness who is retained or

specially employed to provide expert testimony in the case or whose duties as an

employee of the party regularly involve giving expert testimony, be accompanied by a
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written report prepared and signed by the witness. Fed. R. Civ. P. 26(a)(2)(B). The

report shall contain a complete statement of all opinions to be expressed and the basis and

reasons therefore; the data or other information considered by the witness in forming the

opinions, any exhibits to be used as a summary of or support for the opinions; the

qualifications of the witness, including a list of all publications authored by the witness

within the preceding ten years; the compensation to be paid for the study and testimony;

and a listing of any other cases in which the witness has testified as an expert at trial or by

deposition within the preceding four years. Fed. R. Civ. P. 26(a)(2)(B).

       3.      The purpose of Rule 26 is to make discovery easier, faster, and more

efficient, as well as to avoid surprises at trial. Day v. Consol. Rail Corp., 95 Civ. 968

(PKL), 1996 U.S. Dist. LEXIS 6596 (S.D.N.Y). It does not advance this purpose to

withhold the kind of report that opposing counsel needs in order to conduct an informed

deposition or cross examination of a witness, even if the witness is willing to testify

without charge for reasons of his own. Id. at 26-27.

       4.       The U.S. Court of Appeals for the Third, Sixth, and Eleventh Circuits

have issued rulings that support a liberal interpretation of Rule 26, including a narrow

reading of the exceptions for treating physicians and employee-experts, requiring reports

from employee-experts and in some circumstances treating physicians. (See Prieto v.

Malgor, 361 F.3d 1313 (11th Cir. 2004), where the circuit court reversed the district

court’s ruling, finding that Rodriguez, who was employed by the City and whose job did

not require that he regularly give expert testimony, must still file an expert report, See

also Rodriquez v. Town of West New York, 191 F. App’x 166 (3rd Cir. 2006) where the

circuit court affirmed the district court in excluding a physicians testimony on the

grounds that he was required to submit an expert report under Rule 26(a)(2)(B), See also


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Mohney v. U.S.A. Hockey, Inc., 138 F. App’x 804 (6th Cir. 2005) where the circuit court

excluded plaintiff’s expert testimony regarding causation because the physician formed

his opinions in anticipation of litigation and not during the course of treatment).

       5.      The Court in Prieto determined that allowing a blanket exception for all

employee expert testimony would “create a category of expert trial witness{es] for whom

no written disclosure is required and should not be permitted.” Prieto v. Malgor, 361 F.3d

1313, at 1318 (11th Cir. 2004)(quoting Day v. Consol. Rail Corp., 95 Civ. 968 (PKL),

1996 U.S. Dist. LEXIS 6596 (S.D.N.Y). .

       6.      Several Federal District Courts have also held that an employee whose job

does not regularly involve giving expert testimony are still required to file expert reports

under Rule 26(a)(2)(B). In Day v. Consol. Rail Corp., 95 Civ. 968 (PKL), 1996 U.S. Dist.

LEXIS 6596 (S.D.N.Y), the defendant argued that since the expert’s job did not regularly

involve giving expert testimony, the expert did not need to comply with the report

requirement. The Court held that defendant’s expert was still required to submit a report

in accordance with Rule 26 because the proffer by defendant created a distinction at odds

with the purpose of promoting full pre-trial disclosure of expert information. In Day, the

Court went on to reason that because the expert’s duties as an employee do not regularly

involve giving expert testimony, he may fairly be viewed as having been retained or

specially employed for that purpose. Id.

       7.      Similarly in McCulloch v. Hartford Life & Accident Ins. Co., 223 F.R.D.

26 (D. Conn. 2004), plaintiff argued that it would be unfair to require her experts to

provide reports to the defendant, but not require the same from the defendants experts.

The plaintiff further argued that the benefit the defendant received from her expert’s

report amounted to unfair prejudice, since she would incur the added expense of deposing


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the defendant’s expert employees without the benefit of an expert report. Id. The

defendant argued that plaintiff already had the opportunity to depose the witnesses. Id.

The Court agreed with plaintiff ruling that reports were required from the employee

experts, and that to find otherwise would risk encouraging corporate defendants to

attempt to evade the report requirement by designating its own employees as expert

witnesses. Id. (See also C & O Motors, Inc. v. General Motors Corp., 2007 WL 2156587

(S.D.W.Va.) where the court reasoned that while Walker was not a retained expert, but a

C & O employee, does not mean that the court may not require him to produce an expert

report under Rule 26. The court further reasoned that there should be no blanket

exception to the report requirement for employee-experts because it would create a

category of expert trial witness for whom no written disclosure is required and should not

be permitted. Id.(quoting Prieto at 1318).

       8.      Here, Defendant United States of America (“USA”) names Greg

Westphal, John Bright, Darius Bowman, and Michael Glock within its Rule 26(a)(2)

disclosures and states:

               These witnesses work for the General Services
               Administration (“GSA”). Using their firsthand and
               specialized knowledge, these witnesses will testify
               regarding the GSA’s steam distribution system,
               including general information relating to the
               operation of the system, the maintenance of the
               system, the inspection and repair of the system, and
               the cost of maintaining, inspection, and repairing
               the system. Their testimony will include a
               discussion of the reasonable methods for inspecting,
               operating, maintaining, and repairing the steam
               distribution system. These witnesses will further
               testify regarding the alleged incident giving rise to
               Ms. Delon’s claims in this case. Although these are
               fact witnesses, the United States is identifying them
               as providing testimony that may be characterized as
               expert testimony under Rules 702, 703, and 705.


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               (See Exhibit 1 – Rule 26(a)(2)(A) Disclosures by
               Defendant USA).

       9.      No written report has been prepared and signed by Greg Westphal, John

Bright, Darius Bowman, or Michael Glock as required by Fed. R. Civ. P. 26(a)(2)(B).

Nor were their qualifications, publications within the last ten years, compensation, and

other cases they have been involved in within the preceding four years provided within

their Rule 26(a)(2) disclosures.

       10.     A reading of Defendant USA’s Rule 26(a)(2) disclosures reveals that

Defendant USA is attempting to have Greg Westphal, John Bright, Darius Bowman, or

Michael Glock function at trial as expert witnesses normally do. For example, testimony

regarding “reasonable methods for inspecting, operation, maintaining, and repairing the

steam distribution system” is the type of testimony one would normally associate with a

hired expert. Moreover, these are not the types of opinions that the narrow exception to

the rule contemplates – opinions formed during the ordinary course of ones employment

similar to a treating physician formulating opinions in the ordinary course of his

treatment. Thus, they are required to provide Plaintiff with Rule 26(a)(2)(B).

       11.     Under Federal Rule 37(c)(1), a party that without substantial justification

fails to disclose information required by Rule 26(a) …is not, unless such failure is

harmless, permitted to use as evidence at a trial, at a hearing, or on a motion any witness

or information not so disclosed.” Fed. R. Civ. P. 37(c)(1).

       12.     Accordingly, Plaintiff seeks to have the Court strike Greg Westphal, John

Bright, Darius Bowman, and Michael Glock from providing any testimony to the extent

such testimony may be characterized as expert testimony under Rules 702, 703, or 705.

In the alternative, Plaintiff seeks to have the Court limit their expert opinion testimony to



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exclude any opinion they formed in anticipation of litigation, rather than within the

ordinary course of their job at the time the incident arose.

       13.      In addition, Defendant Emcor Government Services, Inc. and Emcor

Group (“Emcor”) names John Bryan and Patrick Nichols within its Rule 26(a)(2)

disclosures and states:

               These witnesses work for Emcor. Using their
               firsthand and specialized knowledge, these
               witnesses will testify regarding GSA’s steam
               distribution system, including, but not limited to,
               general information concerning the operation of the
               system, the inspection and repair of the system,
               estimation of repair and replacement costs for
               components and materials in the system, and the
               performance of Emcor’s duties and responsibilities
               in connection with its inspection and maintenance
               contract with GSA in effect at the time of the
               accident in this case. These witneses will also
               testify concerning their specific job duties and
               responsibilities at Emcor and how those duties and
               responsibilities at Emcor intersect and impact the
               foregoing areas. These witnesses were deposed on
               September 21, 2009, and, although they are fact
               witnesses, Emcor is identifying them as providing
               testimony that may be characterized as expert
               testimony under Rules 702, 703, and 705. (See
               Exhibit 2 – Rule 26(a)(2) Disclosures by Defendant
               Emcor)

       14.     No written report has been prepared and signed by John Bryan or Patrick

Nichols as required by Fed. R. Civ. P. 26(a)(2)(B). Nor were their qualifications,

publications within the last ten years, compensation, and other cases they have been

involved in within the preceding four years provided within their Rule 26(a)(2)

disclosures.

       15.     Under Federal Rule 37(c)(1), a party that without substantial justification

fails to disclose information required by Rule 26(a) …is not, unless such failure is



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harmless, permitted to use as evidence at a trial, at a hearing, or on a motion any witness

or information not so disclosed.” Fed. R. Civ. P. 37(c)(1).

        16.       Accordingly, Plaintiff seeks to have the Court strike John Bryan and

Patrick Nichols from providing any testimony to the extent such testimony may be

characterized as expert testimony under Rules 702, 703, or 705. In the alternative,

Plaintiff seeks to have the Court limit their expert opinion testimony to exclude any

opinion they formed in anticipation of litigation, rather than within the ordinary course of

their job at the time the incident arose.


        WHEREFORE, Plaintiff respectfully requests that the Court enter an Order

striking the testimony of Greg Westphal, John Bright, Darius Bowman, Michael Glock,

John Bryan, and Patrick Nichols to the extent such testimony may be characterized as

expert testimony under Rule 702, 703, or 705. In the alternative, Plaintiff seeks to have

the Court limit their expert opinion testimony to exclude any opinion they formed in

anticipation of litigation, rather than within the ordinary course of their job at the time the

incident arose.

Date October 30, 2009                                  RESPECTFULLY SUBMITTED,


                                                       /s/ Michael J. Johnson

                                                       Michael J. Johnson, #496596
                                                       Craig D. Miller, #459784
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                IN THE UNITED STATES DISTRICT COURT FOR
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SHELLEY DELON                                        )
                                                     )
                              Plaintiff,             )
                                                     )
               v.                                    )       Case No. 08-cv-00212 (PLF)
                                                     )
UNITED STATES OF AMERICA, et al.                     )
                                                     )
                                                     )
                              Defendants.            )

                     MEMORANDUM OF POINTS AND
                 AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                MOTION TO STRIKE THE EXPERT TESTIMONY
            OF GREG WESTPHAL, JOHN BRIGHT, DARIUS BOWMAN,
            MICHAEL GLOCK, JOHN BRYAN, AND PATRICK NICHOLS


       Plaintiff, by and through the undersigned counsel, hereby submits this

Memorandum of Points and Authorities in Support of her Motion to strike the expert

testimony of Greg Westphal, John Bright, Darius Bowman, Michael Glock, John Bryan,

and Patrick Nichols. In support of the Motion, Plaintiff respectfully refers the Court to

the following authorities:

       1.      Federal Rule of Civil Procedure 26
       2.      Federal Rule of Civil Procedure 37(c)(1)
       3.      Day v. Consol. Rail Corp., 95 Civ. 968 (PKL), 1996 U.S. Dist. LEXIS
               6596 (S.D.N.Y)
       4.      Prieto v. Malgor, 361 F.3d 1313 (11th Cir. 2004)
       5.      Rodriquez v. Town of West New York, 191 F. App’x 166 (3rd Cir. 2006)
       6.      Mohney v. U.S.A. Hockey, Inc., 138 F. App’x 804 (6th Cir. 2005)
       7.      McCulloch v. Hartford Life & Accident Ins. Co., 223 F.R.D. 26 (D. Conn.
               2004)
       8.      C & O Motors, Inc. v. General Motors Corp., 2007 WL 2156587
               (S.D.W.Va.)




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Date: October 30, 2009                              RESPECTFULLY SUBMITTED,


                                                   /s/ Michael J. Johnson

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                                    *       *      *

                            RULE 12-I CERTIFICATION

      I hereby certify that I sought and was not able to obtain the consent of Defendant
USA or Emcor to the relief requested herein

                                            /s/ Michael J. Johnson
                                            _______________________
                                            Michael J. Johnson




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                           CERTIFICATE OF SERVICE

       I certify that on October 30, 2009, I served a copy of the foregoing Plaintiff’s
Motion to Strike the Expert Testimony of Greg Westphal, John Bright, Darius Bowman,
Michael Glock, John Bryan, and Patrick Nichols , supporting Memorandum of Points and
Authorities, and proposed Order by efiling:

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                                                  /s/ Michael J. Johnson

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